










NO. 07-08-0432-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

NOVEMBER 24, 2008

______________________________


IN RE JOSEPH H. NORTON, RELATOR

_______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Joseph H. Norton, seeks a writ of mandamus to compel the Honorable Ron
Enns, Judge of the 69th District Court, to respond to motions pending in his court regarding
DNA testing pursuant to chapter 64 of the Texas Code of Criminal Procedure.  Relator has
also filed a Motion to Proceed in Forma Pauperis in which he additionally requests
appointment of new counsel.  We grant in part and deny in part the motion to proceed in
forma pauperis.  Furthermore, for reasons expressed herein, we deny Relator’s petition for
writ of mandamus.  
&nbsp;
&nbsp;
Motion to Proceed In Forma Pauperis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although the motion lacks details required by Rule 20.1(b) of the Texas Rules of
Appellate Procedure, we nevertheless find the motion “adequate to fulfill the fundamental
purpose of Rule 20.1" and grant the motion to the extent that Relator may proceed in this
Court without payment of fees.  See Higgins v. Randall County Sheriff’s Office, 257 S.W.3d
684, 688 (Tex. 2008).  See also Higgins v. Randall County Sheriff’s Office,  193 S.W.3d
898, 900 (Tex. 2006).  
Request for Appointment of Counsel
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The limited record before us indicates that Relator was appointed counsel to pursue
his motion for DNA testing and nothing suggests that counsel has been permitted to
withdraw.  Even assuming that Relator is not presently represented by counsel, although
the question of whether and whom to appoint as substitute counsel is a matter we normally
abate back to the trial court for consideration, in light of our disposition of Relator’s petition
for writ of mandamus and in the interest of judicial economy, we deny that portion of the
motion requesting appointment of new counsel.  
Procedural Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to Relator’s petition for writ of mandamus and items included in the
appendix thereto, he was convicted in 1993 for murder.  On February 11, 2005, the trial
court signed an order granting his motion for DNA testing.  By letter dated May 8, 2007,
Judge Enns notified Relator that the special prosecutor and appointed counsel had agreed
on a basic format for conducting the DNA test.  He further wrote, “I WILL defer ruling on
your pending motions until I hear from your counsel.”&nbsp;&nbsp;A copy of a letter dated January 9,
2008, from Relator to Judge Enns is included in the appendix to the petition for writ of
mandamus.  In that letter, Relator conveys his frustration about the delay in DNA testing
granted by court order in 2005 and requests Judge Enns to appoint him new counsel. 
Finally, he urges Judge Enns to “at least take the appropriate time &amp; effort to see that the
aforementioned DNA Testing be finally carried out as expeditiously &amp; professionally as
possible . . . .”  Relator does not discuss any pending motions, only four or five letters and
documentation to Judge Enns reflecting his frustration and the fact that his correspondence
has not been acknowledged.
Mandamus Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“Mandamus issues only to correct a clear abuse of discretion or the violation of a
duty imposed by law when there is no other adequate remedy by law.”  Walker v. Packer,
827 S.W.2d 833, 839 (Tex. 1992) (orig. proceeding), quoting Johnson v. Fourth Court of
Appeals, 700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding).  To show entitlement to
mandamus relief, a relator must (1) show that he has no adequate remedy at law to
redress the alleged harm and (2) the act sought to be compelled is ministerial and does
not involve a discretionary or judicial decision.  State ex rel. Young v. Sixth Judicial Dist.
Court of Appeals, 236 S.W.3d 207, 210 (Tex.Crim.App. 2007).  Additionally, a relator must
satisfy three requirements: (1) a legal duty to perform; (2) a demand for performance; and
(3) a refusal to act.  Stoner v. Massey, 586 S.W.2d 843, 846 (Tex. 1979).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When a motion is properly pending before a trial court, the act of considering and
ruling upon it is a ministerial act.  Eli Lilly and Co. v. Marshall, 829 S.W.2d 157, 158 (Tex.
1992).  However, the trial court has a reasonable time within which to perform that
ministerial duty.  Safety-Kleen Corp. v. Garcia, 945 S.W.2d 268, 269 (Tex.App.–San
Antonio 1997, orig. proceeding).  Whether a reasonable period of time has lapsed is
dependent on the circumstances of each case.  Barnes v. State, 832 S.W.2d 424, 426
(Tex.App.–Houston [1st Dist.] 1992, orig. proceeding).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, the party seeking relief has the burden to provide a sufficient record to
establish entitlement to mandamus relief.  Walker, 827 S.W.2d at 837.  The record must
show that the motion was presented to the trial court and that it refused to act.  See
generally In re Villareal, 96 S.W.3d 708, 710 n.2 (Tex.App.–Amarillo 2003, orig.
proceeding) (filing something with the trial court clerk does not demonstrate that a motion
was presented to the trial court).  See also In re Chavez, 62 S.W.3d 225, 228
(Tex.App.–Amarillo 2001, orig. proceeding).  
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Notwithstanding Judge Enn’s letter to Relator that he will “defer ruling” on pending
motions and Relator’s prayer that we compel the trial court “to respond to his motions
currently before it, and or to put into motion the warrant necessary to move [relator] to its
jurisdiction for testing,” the record before us does not contain certified or sworn copies of
any motions pending before Judge Enns.  See Tex. R. App. P. 52.3(j)(1)(A).  The record 
 does contain copies of “Defendant’s Motion for DNA Testing” and “Defendant’s Amended
Motion for DNA Testing,” which the trial court granted in 2005.  Appendix item J is a copy
of Relator’s “Request for Appointment of Counsel Persuant [sic] to Article 64.01(c) Code
of Criminal Procedure.”  A date of “3-31-08" is noted beside Relator’s signature.  The
document, however, is not file-stamped by the trial court clerk.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Except for a reference in Judge Enn’s May 8, 2007 letter to Relator providing that
he will defer ruling on pending motions, Relator has not satisfied his burden to provide a
sufficient record demonstrating that properly filed motions were presented to the trial court
and have awaited disposition for an unreasonable length of time.  Neither has Relator
demonstrated that the trial court has abused its discretion or violated a duty imposed by
law. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, Relator’s petition for writ of mandamus is denied.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

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